                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:
                                                                       Chapter 7
Joseph G. DuMouchelle and
Melinda J. Adducci                                                     Case No. 19-5453-lsg

                                                                       Honorable Lisa S. Gretchko
          Debtors.
____________________________________/

Thomas T. Ritter

                    Plaintiff,

v.

Joseph G. DuMouchelle and                                              Adversary Pro. No. 20-04381
Melinda J. Adducci

     Defendants.
____________________________________/

                            INDEX OF EXHIBITS
               Re: SECOND AMENDED COMPLAINT TO DETERMINE
                          NONDISCHARGEABILITY OF
                      INDEBTEDNESS UNDER 11 U.S.C. § 523

                                                                                                        Exhibit

Promissory Note ($350,000) dated February 12, 2014.............................................. 1

Promissory Note ($430,000) dated August 12, 2014 ................................................ 2

January 17, 2018 Extension .......................................................................................3

North Dakota Judgment .............................................................................................4



  20-04381-lsg         Doc 91-1       Filed 03/06/23        Entered 03/06/23 15:09:56             Page 1 of 2
4882-5120-3157.v1
January 25, 2019 email forwarding appraisal of The Yellow Rose .......................... 5

Yellow Rose Purchase Agreement............................................................................. 6

Cover Letter?? ............................................................................................................7

January 31, 2019 email re January 30, 2019 Letter Agreement ................................ 8

February 1, 2019 email re Wire Instructions to MB Financial .................................. 9

February 6, 2019 email re Wire Instructions to Bank of America ..........................10

Bank of America Statements ...................................................................................11

Yellow Rose Purchase Receipt ................................................................................12

Withdraws ................................................................................................................13

Draft Sale Agreement...............................................................................................14

April 12, 2019 Letter Agreement .............................................................................15

February 7, 2019 email re Brinks facility ................................................................16

May 13, 2019 email demanding payment ................................................................17

June 10, 2019 email demanding payment ................................................................18

June 21, 2019 email demanding payment ................................................................19

July 2, 2019 email demanding payment ..................................................................20

Criminal Proceeding; Case #2:20-cr-20245 ............................................................21

Plea Agreement ........................................................................................................22

Judgment in Criminal Proceeding............................................................................23

January 20, 2014 Notarized Letter ...........................................................................24


  20-04381-lsg          Doc 91-1        Filed 03/06/23 2 Entered 03/06/23 15:09:56                       Page 2 of 2
4882-5120-3157.v1
